Case 1:02-cv-01299-.]DT-STA Document 37 Filed 07/18/05 Page 1 of 2 Page|D 43

  

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IN THE UNITED STATES DISTRICT COURT `§`//\ D'L-
FOR THE WESTERN DISTRICT 0F TENNESSEE 65 JUL ,8 AN
EASTERN DIVISION '9’ 19
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GUIDEONE TAYLOR BALL ) w'£ 1..:_.~‘ ?.:"-\-; 13 ,,\\, 'RT
CONSTRUCTION SERVICES, INC., ) '
)
Plaintiff, )
)
v. ) NO.: 02-1299-T-An
)
RICKY HURT, ec al., )
)
Defendants. )

 

ORDER RE-SETTING SHOW CAUSE HEARING

 

The Order TO Show Cause entered en July 12, 2005 Setting a Show Cause Hearing for
Monday, July 25, 2005 has been re-Set for MONDAY, AUGUST l, 2005 at 2:00 p.m. in the
Magistrate’s Courtroom, 4th Floor, United States Courthouse, 111 S. Highland, Jacl-<Son1
Tennessee.

Mr. Terry Abernathy will not be required to attend the Hearing, however, Mr. Craig
Kennedy and Mr. William M. Jeter are required to appear in person for the hearing

IT IS SO ORDERED.

§§ %rrw @»~J

S. THOMAS ANDERSON
UN[TED STATES MAGISTRATE JUDGE

Dated: m /X lOD\/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 1:02-CV-01299 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

